                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

In re:
                                                           Chapter 7
Joseph G. DuMouchelle and Melinda
J. Adducci                                                 Case No. 19-54531

                                                           Honorable Lisa Gretchko
          Debtors.
____________________________________/

Teodor Gelov

                    Plaintiff,

v.

Joseph G. DuMouchelle and Melinda                          Adversary Pro. No. 20-04172
J. Adducci

     Defendants.
____________________________________/

                  STIPULATION FOR ENTRY OF ORDER
              EXTENDING PLAINTIFF’S RESPONSE DEADLINE
            TO DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

         NOW COMES Teodor Gelov (“Gelov”), and Joseph G. DuMouchelle and

Melinda J. Adducci (“Defendants”), by their respective counsel, who hereby stipulate

and agree to the entry of the proposed Order attached hereto as Exhibit 1.




4886-3945-9420.v1




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Approved as to form and content:


TAFT STETTINIUS &                                JOHN R. FOLEY, P.C.
HOLLISTER, LLP
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Counsel to Plaintiff, Teodor Gelov               Counsel for Defendants, Joseph G.
                                                 DuMouchelle and Melinda J. Adducci


Dated: April 10, 2023                            Dated: April 10, 2023




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                                      EXHIBIT 1




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Teodor Gelov

                    Plaintiff,

v.

Joseph G. DuMouchelle and Melinda                          Adversary Pro. No. 20-04172
J. Adducci

     Defendants.
____________________________________/

          ORDER EXTENDING PLAINTIFF’S RESPONSE DEADLINE
           TO DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

         THIS MATTER having come before the Court on the stipulation

(“Stipulation”; ECF No. ___) between Teodor Gelov (“Plaintiff”) and Defendants,

Joseph G. DuMouchelle and Melinda J. Adducci (collectively, “Defendants”), by

their respective counsel, consenting to the terms of this Order. The Court has

reviewed the Stipulation and based thereon, finds cause to enter this Order.

         NOW, THEREFORE, IT IS HEREBY ORDERED that Plaintiff’s response
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deadline to Defendants’ Motion for Protective Order (ECF No. 132) dated March 16,

2023, is extended to April 27, 2023.




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In re:
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Joseph G. DuMouchelle and Melinda
J. Adducci                                                      Case No. 19-54531

                                                                Honorable Lisa Gretchko
          Debtors.
____________________________________/

Teodor Gelov

                    Plaintiff,

v.

Joseph G. DuMouchelle and Melinda                               Adversary Pro. No. 20-04172
J. Adducci

     Defendants.
____________________________________/

                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 10, 2023, my office caused to be served a copy

of the Stipulation For Entry Of Order Extending Plaintiff’s Response Deadline To

Defendants’ Motion for Protective Order by ECF notification to all parties who

have filed an appearance in the above-captioned adversary proceeding.




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                                   Respectfully submitted by:

                                   TAFT STETTINIUS & HOLLISTER, LLP

                                   By: /s/ Jay L. Welford
                                   Jay L. Welford (P34471)
                                   Kimberly Ross Clayson (P69804)
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Dated: April 10, 2023              kclayson@taftlaw.com




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